      Case 3:00-cr-00851-JAF      Document 139     Filed 09/25/06   Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                   IN AND FOR THE DISTRICT OF PUERTO RICO

                          CRIMINAL CASE NO. 00-851(JAF)


UNITED STATES OF AMERICA,

             Plaintiff,

vs.

MURLID DATWANI, a/k/a MARK D.
DATWANI, a/ka MARK DATWANI,

             Defendant.

IN RE: REAL ESTATE PROPERTY
LOCATED AT 30 A INDIAN CREEK
DRIVE, INDIAN CREEK, FLORIDA;
MORE FULLY DESCRIBED AT THE
MIAMI-DADE COUNTY PUBLIC
RECORDS OFFICE AS FOLLOWS:

LOT 30 OF INDIAN CREEK GULF
CLUB ISLAND, ACCORDING TO THE
PLAT THEREOF, AS RECORDED IN
PLAT BOOK 34, AT PAGE 33, OF THE
PUBLIC RECORDS OF MIAMI DADE
COUNTY, FLORIDA.

_________________________________/

       ORDER VACATING LIS PENDENS UNDER THE CONDITION THAT NET
      PROCEEDS FROM THE SALE OF THE ABOVE DESCRIBED PROPERTY,
         TOTALI
              NG $4,233,
                       069.00BEPLACEDI NTHEMARSHAL’   S FUND
                PENDING FURTHER COURT PROCEEDINGS

      THIS CAUSE came before this Court upon the Motion filed by Masuki Naemura

(
“Naemur
      a”)
        ,Hi
          romoYamamot
                    o(“
                      Yamamot
                            o”)
                              ,andBeac
                                     hInv
                                        est
                                          ment
                                             Cor
                                               por
                                                 ati
                                                   on(
                                                     “BI
                                                       C”)
                                                         ,

to vacate the Lis Pendens on the above styled property so as to allow the sale of said

property, with the condition that the proceeds from said sale totaling $4,233,069.00 be
       Case 3:00-cr-00851-JAF        Document 139       Filed 09/25/06     Page 2 of 2




pl
 aced i
      ntot
         he Mar
              shal
                 ’
                 sFund pendi
                           ng f
                              urt
                                heract
                                     ion byt
                                           he Cour
                                                 t.The Cour
                                                          thas

considered said motion, has reviewed the second superseding indictment which seeks

forfeiture of up to $4,233,069.00, has reviewed the contract for the Sale and Purchase of

said property and is otherwise fully advised in the premises. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       That said Motion is GRANTED. This Court hereby orders that the United States

At
 tor
   ney
     ’sOf
        fi
         cef
           il
            ear
              el      heLis Pendens placed on the above styled property
                easeoft

immediately so as to allow the sale of said property to the buyers listed in the contract

submitted to this Court. At the time of closing, net proceeds totaling $4,233,069.00 shall be

set aside and then deposited in an account maintai
                                                 nedbyt
                                                      heUni
                                                          tedSt
                                                              atesMar
                                                                    shal
                                                                       ’
                                                                       s.

This money shall be considered a substitute asset for the real property described in the

secondsuper
          sedi
             ngi
               ndi
                 ct
                  ment
                     .TheMar
                           shal
                              ’
                              sshal
                                  lhol
                                     dsai
                                        dmoni
                                            esandal
                                                  li
                                                   nter
                                                      est
                                                        whi
                                                          ch

may accrue thereon pending further order from this Court. This Order is being entered

without prejudice to any party in this matter to file a claim for said money and to resolve the

questions of ownership and forfeiture of said money as a substitute for the real estate

property described in the second superseding indictment.

       DONE AND ORDERED in Hato Rey, Puerto Rico, this 25th day of September, 2006.



                                           S/JOSE ANTONIO FUSTE
                                           UNITED STATES DISTRICT JUDGE

cc: Edward R. Shohat, Esq.
       Bierman, Shohat & Loewy, P.A.
    Aramis Rios, Esq.
       Assistant United States Attorney
    United States Marshals


                                             2
